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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        www.flsb.uscourts.gov

In re:                                                        Case No.: 21-16133-LMI

OCEANROAD GLOBAL SERVICES LIMITED,                            Chapter 15
HOLDWAVE TRADING LIMITED,

      Debtors in a Foreign Proceeding.                        (Jointly Administered)
_________________________________/

                              NOTICE OF RULE 2004 EXAMINATION
                                         (Documents only)

         Nicholas Wood, Colin Diss, and Michael Leeds, the joint liquidators (“Foreign Representatives”)
will examine Microsoft Corporation under oath on January 5, 2022, no later than 5:00 p.m. The
examination may continue from day to day until completed. If the examinee receives this notice less than
14 days prior to the scheduled examination date, the examination will be rescheduled upon timely request
to a mutually agreeable time.
          The examination is pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1, and will be
recorded by this method: Production of documents only – no testimony is required at this time. The scope
of the examination shall be as described in Bankruptcy Rule 2004.
          Pursuant to Local Rule 2004-1 no order shall be necessary. If the examination is of a witness other
than the debtor, the Local Form “Subpoena for Rule 2004 Examination” is included with this notice.
                Production: The examinee or your representatives, must also bring with you to the
examination the documents, electronically stored information, or objects described on the attached
schedule (or if the examination is of a witness other than the debtor, on the attached subpoena), and must
permit inspection, copying, testing, or sampling of the materials.

          Dated: December 17, 2021                     Respectfully Submitted,
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                                                       SEQUOR LAW, P.A.
                                                       1111 Brickell Avenue, Suite 1250
                                                       Miami, Florida 33131
                                                       Telephone: (305) 372-8282
                                                       Facsimile: (305) 372-8202

                                               By:     /s/ Carolina Z. Goncalves
                                                       Nyana Abreu Miller, FBN 092903
                                                       nmiller@sequorlaw.com
                                                       Carolina Z. Goncalves, FBN 124570
                                                       cgoncalves@sequorlaw.com

                                      CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic filing
using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such filing to all
CM/ECF participants in this case and via regular U.S. mail to all participants who are not on the list to
receive e-mail notice/service for this case as indicated on the service list on December 17, 2021.


                                                       /s/ Carolina Z. Goncalves
                                                       Carolina Z. Goncalves


                                              SERVICE LIST

Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this
case.
      Nyana Abreu Miller, Esq. nmiller@sequorlaw.com; msanchez@sequorlaw.com
      Carolina Z. Goncalves, Esq. cgoncalves@sequorlaw.com; msanchez@sequorlaw.com
      Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
      Eric J Silver, Esq. esilver@stearnsweaver.com
      Drew M. Dillworth, Esq. ddillworth@stearnsweaver.com

Manual Notice List

       (No manual recipients)




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                                    UNITED STATES BANKRUPTCY COURT
                                                          Southern District of Florida

  In re:                                                                    Case No.: 21-16133-LMI
        OCEANROAD GLOBAL SERVICES
        LIMITED, HOLDWAVE TRADING                                           Chapter 15
        LIMITED,
                                                                             (Jointly Administered)
      Debtors in a Foreign Proceeding.
___________________________________________/

                                         SUBPOENA FOR RULE 2004 EXAMINATION
                                                    (Documents only)
  To: Microsoft Corporation
      CORPORATION SERVICE COMPANY
      1201 HAYS STREET
      TALLAHASSEE, FL 32301


  □ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
  under Rule 2004, Federal Rules of Bankruptcy Procedure and Local Rule 2004-1.
  PLACE:                                                                        DATE AND TIME
           In light of the COVID-19 pandemic, we encourage you to produce
           responsive documents via e-mail. If you do not wish to do so, please
           contact the issuer of this subpoena to arrange for an alternate      January 5, 2022, no later than 5:00 p.m.
           means of delivery.

  The examination will be recorded by this method: Documents only, no testimony will be taken at this time.

  □
  X Production: You, or your representatives, must also bring with you to the examination the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
  See Schedule I attached hereto.

The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are attached –
Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and
Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not doing so.

 Date: December 17, 2021
                               CLERK OF COURT

                                                                           OR
                               ____________________________                          /s/Carolina Z. Goncalves
                               Signature of Clerk or Deputy Clerk                   Carolina Z. Goncalves

The name, address, email address, and telephone number of the attorney Nicholas Wood, Colin Diss, and Michael Leeds (“Foreign Representatives”), who
issue or request this subpoena, are: Nyana Abreu Miller (nmiller@sequorlaw.com; jleon@sequorlaw.com); Carolina Z. Goncalves (cgoncalves@sequorlaw.com),
1111 Brickell Ave, Suite 1250, Miami, FL 33131; (305) 372-8282.
                                       Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection of
  premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to whom it is
  directed. Fed. R. Civ. P. 45(a)(4).




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                                                         PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

  I received this subpoena for (name of individual and title, if any):
  on (date)             .


  □ I served the subpoena by delivering a copy to the named person as follows:
                                                   on (date)                             ; or


  □ I returned the subpoena unexecuted because:

  Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
  witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                  .

   My fees are $                for travel and $               for services, for a total of $           .


   I declare under penalty of perjury that this information is true and correct.

   Date:

                                                                                                  Server’s signature


                                                                                                Printed name and title



                                                                                                   Server’s address


  Additional information concerning attempted service, etc.:




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                              Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                          (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

  (c) Place of compliance.                                                                          (ii) disclosing an unretained expert's opinion or information that does
                                                                                              not describe specific occurrences in dispute and results from the expert's
    (1) For a Trial, Hearing, or Deposition. A subpoena may command a                         study that was not requested by a party.
  person to attend a trial, hearing, or deposition only as follows:                               (C) Specifying Conditions as an Alternative. In the circumstances
      (A) within 100 miles of where the person resides, is employed, or                       described in Rule 45(d)(3)(B), the court may, instead of quashing or
  regularly transacts business in person; or                                                  modifying a subpoena, order appearance or production under specified
      (B) within the state where the person resides, is employed, or regularly                conditions if the serving party:
  transacts business in person, if the person                                                        (i) shows a substantial need for the testimony or material that cannot
        (i) is a party or a party’s officer; or                                               be otherwise met without undue hardship; and
        (ii) is commanded to attend a trial and would not incur substantial                          (ii) ensures that the subpoenaed person will be reasonably
  expense.                                                                                    compensated.

    (2) For Other Discovery. A subpoena may command:                                          (e) Duties in Responding to a Subpoena.
      (A) production of documents, or electronically stored information, or
  things at a place within 100 miles of where the person resides, is employed,                  (1) Producing Documents or Electronically Stored Information. These
  or regularly transacts business in person; and                                              procedures apply to producing documents or electronically stored
      (B) inspection of premises, at the premises to be inspected.                            information:
                                                                                                  (A) Documents. A person responding to a subpoena to produce
  (d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                              documents must produce them as they are kept in the ordinary course of
                                                                                              business or must organize and label them to correspond to the categories in
        (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                              the demand.
  attorney responsible for issuing and serving a subpoena must take
                                                                                                  (B) Form for Producing Electronically Stored Information Not
  reasonable steps to avoid imposing undue burden or expense on a person
                                                                                              Specified. If a subpoena does not specify a form for producing
  subject to the subpoena. The court for the district where compliance is
                                                                                              electronically stored information, the person responding must produce it in
  required must enforce this duty and impose an appropriate sanction —
                                                                                              a form or forms in which it is ordinarily maintained or in a reasonably
  which may include lost earnings and reasonable attorney's fees — on a
                                                                                              usable form or forms.
  party or attorney who fails to comply.
                                                                                                  (C) Electronically Stored Information Produced in Only One Form. The
                                                                                              person responding need not produce the same electronically stored
    (2) Command to Produce Materials or Permit Inspection.
                                                                                              information in more than one form.
      (A) Appearance Not Required. A person commanded to produce
                                                                                                  (D) Inaccessible Electronically Stored Information. The person
  documents, electronically stored information, or tangible things, or to
                                                                                              responding need not provide discovery of electronically stored information
  permit the inspection of premises, need not appear in person at the place of
                                                                                              from sources that the person identifies as not reasonably accessible because
  production or inspection unless also commanded to appear for a deposition,
                                                                                              of undue burden or cost. On motion to compel discovery or for a protective
  hearing, or trial.
                                                                                              order, the person responding must show that the information is not
      (B) Objections. A person commanded to produce documents or tangible
                                                                                              reasonably accessible because of undue burden or cost. If that showing is
  things or to permit inspection may serve on the party or attorney designated
                                                                                              made, the court may nonetheless order discovery from such sources if the
  in the subpoena a written objection to inspecting, copying, testing or
                                                                                              requesting party shows good cause, considering the limitations of Rule
  sampling any or all of the materials or to inspecting the premises — or to
                                                                                              26(b)(2)(C). The court may specify conditions for the discovery.
  producing electronically stored information in the form or forms requested.
  The objection must be served before the earlier of the time specified for
                                                                                                 (2) Claiming Privilege or Protection.
  compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                                   (A) Information Withheld. A person withholding subpoenaed
  the following rules apply:
                                                                                              information under a claim that it is privileged or subject to protection as
        (i) At any time, on notice to the commanded person, the serving party
                                                                                              trial-preparation material must:
  may move the court for the district where compliance is required for an
                                                                                                     (i) expressly make the claim; and
  order compelling production or inspection.
                                                                                                     (ii) describe the nature of the withheld documents, communications,
        (ii) These acts may be required only as directed in the order, and the
                                                                                              or tangible things in a manner that, without revealing information itself
  order must protect a person who is neither a party nor a party's officer from
                                                                                              privileged or protected, will enable the parties to assess the claim.
  significant expense resulting from compliance.
                                                                                                   (B) Information Produced. If information produced in response to a
                                                                                              subpoena is subject to a claim of privilege or of protection as trial-
    (3) Quashing or Modifying a Subpoena.
                                                                                              preparation material, the person making the claim may notify any party that
      (A) When Required. On timely motion, the court for the district where
                                                                                              received the information of the claim and the basis for it. After being
  compliance is required must quash or modify a subpoena that:
                                                                                              notified, a party must promptly return, sequester, or destroy the specified
        (i) fails to allow a reasonable time to comply;
                                                                                              information and any copies it has; must not use or disclose the information
        (ii) requires a person to comply beyond the geographical limits
                                                                                              until the claim is resolved; must take reasonable steps to retrieve the
  specified in Rule 45(c);
                                                                                              information if the party disclosed it before being notified; and may
        (iii) requires disclosure of privileged or other protected matter, if no
                                                                                              promptly present the information under seal to the court for the district
  exception or waiver applies; or
                                                                                              where compliance is required for a determination of the claim. The person
        (iv) subjects a person to undue burden.
                                                                                              who produced the information must preserve the information until the claim
      (B) When Permitted. To protect a person subject to or affected by a
                                                                                              is resolved.
  subpoena, the court for the district where compliance is required may, on
  motion, quash or modify the subpoena if it requires:
                                                                                              (g) Contempt. The court for the district where compliance is required – and
        (i) disclosing a trade secret or other confidential research,
                                                                                              also, after a motion is transferred, the issuing court – may hold in contempt
  development, or commercial information; or
                                                                                              a person who, having been served, fails without adequate excuse to obey
                                                                                              the subpoena or an order related to it.
                                                                   For Access to Subpoena Materials
                                                                   Fed. R. Civ. P. 45(a) Committee Note (2013)
         • Parties desiring access to information produced in response to this subpoena will need to follow up with the party serving the subpoena to obtain such access.
        • The party serving the subpoena should make reasonable provisions for prompt access.
        • The court for the district where compliance with the subpoena is required has authority to order notice of receipt of produced materials or access to them.
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                                        SCHEDULE 1

                                        DEFINITIONS

       As used in this request, the following words shall have the following meanings:

       1.     “You” and/or “Your” means the entity to which this subpoena is directed.

        2.      “Document” shall have the same meaning and scope as “documents or
electronically stored information” within the meaning of Federal Rule of Civil Procedure
34(a)(1)(A).

       3.     The terms “and” and “or” shall be construed conjunctively or disjunctively as is
necessary to make the request for production inclusive rather than exclusive.

       4.     The term “any” means “all” and vice versa.

       5.     The term “including” means including but not limited to.

      6.       The singular shall be construed to include the plural, and vice versa, to make the
Request inclusive rather than exclusive.

        7.     “Related to” or “relating to” means constitute, regarding, refer to, reflect,
mention, evidence, concern, pertain to, arise out of, summarize, analyze, or be logically or
factually connected in any way with the matter discussed.

      8.      “Relevant Period” refers to the period of time between December 1, 2011 and
Your response to this Request. Unless otherwise stated, all Requests refer only to the
Relevant Period.
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                                  GENERAL PROVISIONS

       1.      This is a non-content Subpoena. You are required to produce all documents
responsive to the Subpoena, provided that the documents do not disclose any emails or the
contents thereof.

       2.     Any document in Your possession or the possession of any individual or
corporation over which You have custody or control, including, but not limited to, Your
predecessor in interest, agents, corporations, employees and attorneys is deemed to be within
Your possession, custody or control. You have the affirmative duty to contact any third party,
including the foregoing, that is within Your custody or control if such third party has
documentation responsive to this Subpoena. See Sergeeva v. Tripleton Int’l Ltd., 834 F.3d 1194,
1201 (11th Cir. 2016) (citing SeaRock v. Stripling, 736 F.2d 650, 653–54 (11th Cir. 1984)).

       3.      Each request shall be interpreted and construed to include any and all attachments
and subparts that are referenced, linked to or included in a responsive document.

       4.      In the event You claim that any document requested is unavailable, lost,
misplaced, or destroyed, state the following:

                  a. the date You believe such document became unavailable, lost, misplaced,
                      or destroyed; and

                  b. the reason why such document became misplaced, lost, or destroyed.

       5.      If you seek to withhold any document or category of documents on the basis of a
claim of privilege, an objection, or a motion seeking protective order or modification of the
subpoena, then you are instructed to produce any documents or categories of documents for
which protection is not expressly sought.

       6.     In the event that You seek to withhold any document on the basis that it is
covered by privilege, please provide the following information:

                  a. The name of each author, writer, sender, or initiator of such document or
                      thing, if any;

                  b. The name of each recipient, addressee or party for whom such document or
                      thing was intended, if any;

                  c. The date of such document, if any, or an estimate thereof so indicated if no
                      date appears on the document;

                  d. The general subject matter as described in such document, or, if no such
                      description appears, then such other description sufficient to identify said
                      document; and



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                   e. The claimed grounds for withholding the document, including, but not
                       limited to the nature of any claimed privilege and grounds in support
                       thereof.

        7.     If production of documents or other items required by this Subpoena would be, in
whole or in part, unduly burdensome, or if the response to an individual request for production
may be aided by clarification of the request, contact the issuer of this Subpoena, to discuss
possible amendments or modifications of the Request immediately upon receipt of same. In any
event, you have a duty to search for and produce those documents for which production would
not be unduly burdensome.

        8.     Documents maintained in electronic form must be produced in their native
electronic form with all metadata intact. Data must be produced in the data format in which it is
typically used and maintained. For electronic mail systems using Microsoft Outlook or
LotusNotes, provide all responsive emails and, if applicable, email attachments and any related
documents, in their native file format (i.e., .pst for outlook personal folder, .nsf for LotusNotes).
For all other email systems provide all responsive emails and if applicable, email attachments
and any related documents in TIFF format.

                   a. To the extent any electronically stored information, if produced in its native
                       format, would be difficult or impossible to review because it would
                       require proprietary or legacy software, said electronically stored
                       information should be provided in Image (near-paper) format (i.e., .TIFF,
                       or .PDF files) with a corresponding load file utilizing valid field delimiters
                       and text qualifiers containing metadata and optical character recognition
                       (OCR) extracted text for said electronically stored information named with
                       the document identification (DocID) of its corresponding file.

                   b. To the extent any electronically stored information is a password protected
                       native file, the password for the native file should be provided as metadata
                       in a text file named with the document identification (DocID) of the
                       corresponding password protected native file.

        9.     To the extent that no single document exists or is in your possession, custody, or
control that contains all the information sought in any particular request, you are to provide such
other documents in your possession, custody or control that are sufficient to show, compute,
compile, or explain all the information sought in the request or as much information as is
available.

       10.  These requests shall be deemed continuing so as to require you to reasonably
supplement your responsive production if you gain knowledge that your response was
incomplete.




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                                DOCUMENT REQUESTS

      1.    All Hotmail, Microsoft, and Outlook account information provided, recorded,
and/or registered during registration and subsequent access for subscriber
“sjam1101@hotmail.com”, including:
            a. Subscriber’s first and last name, gender, and date of birth;
            b. Subscriber’s address;
            c. Subscriber’s phone number, including recovery phone number;
            d. Subscriber’s alternate or linked e-mail account(s), including recovery e-mail
                account(s);
            e. Subscriber’s geographical location (country);
            f. Recorded account creation, suspension, deactivation, restoration, and deletion
                date(s) and times (indicating time zone);
            g. Recorded IP addresses and associated date and time stamps (specify time
                zone) during account creation, suspension, deactivation, restoration, and
                deletion sessions;
            h. Recorded geographic coordinates during account creation, suspension,
                deactivation, restoration, and deletion sessions by GPS enabled devices;
            i. Recorded account IP addresses, geographic coordinates, connection times and
                dates (indicating time zone) for all non-registration related connections;
            j. Current subscriber account status (free or paid);
            k. If "paid" subscriber account, subscriber’s payment method information,
                including name and billing address affiliated with payment method;
            l. If e-mail forwarding is currently enabled, the e-mail account(s) to which e-
                mails are being forwarded;
            m. Current size of e-mail mailbox in MBs;
            n. All of the information contained in Request 1(a)-(m) for any aliases created
                for this address; and
            o. Any registration information captured and not requested in Request 1(a)-(m).

         2. All Microsoft Office account and access information associated with subscriber
“sjam1101@hotmail.com”, including:
            a. Account creation and deactivation times (indicating time zone);
            b. Current subscriber account status (free or paid);
            c. If "paid" subscriber account, subscriber’s payment method information,
                including name and billing address affiliated with payment method;
            d. Recorded account IP addresses, geographic coordinates, connection dates and
                times (indicating time zone) for all Microsoft Office connections; and
            e. Any registration information captured and not requested in Request 2(a)-(d).

       3.      User connection logs for subscriber e-mail account “sjam1101@hotmail.com”
containing the following information:
               a. Recorded IP addresses, date and time (specify time zone) at time of mailbox
                   authentication from all sources, e.g., HTTP/HTTPS via public browser,
                   IMAP, etc.;
               b. Recorded IP addresses, date and time (indicating time zone) at time of
                   mailbox activity other than authentication; and

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              c. Recorded geographic coordinates during account creation, suspension,
                 restoration, and deletion sessions by GPS enabled devices.

         4. All OneDrive access information associated with subscriber
“sjam1101@hotmail.com”, including:
            a. Recorded account IP addresses, geographic coordinates, and connection dates
                and times (indicating time zone) for all connections;
            b. Names and number of stored documents; and
            c. Document upload activity log.

         5. All Bing access information associated with subscriber
“sjam1101@hotmail.com”, including:
            a. Recorded device information such as hardware model, operating system
                version, unique device identifiers, mobile network information, and phone
                number; and
            b. Recorded account IP addresses, geographic coordinates, and connection dates
                and times (indicating time zone) for all connections.

         6. All Microsoft Teams account and access information associated with subscriber
“sjam1101@hotmail.com”, including:
            a. Account creation and deactivation times (indicating time zone);
            b. Recorded account IP addresses, geographic coordinates, and connection dates
                and times (indicating time zone) for all Microsoft Teams connections;
            c. Inbound/outbound call history, including counterparty information and call
                duration times;
            d. If "paid" subscriber account, subscriber’s payment method information,
                including name and billing address affiliated with payment method; and
            e. Any registration information captured and not requested in Request 6(a)-(d).

        7.     Customer support logs or notes relating to subscriber “sjam1101@hotmail.com”,
including recorded IP addresses, geographic coordinates, and connection dates and times
(indicating time zone).




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